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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
                                      THIRD DIVISION


UNITED STATES OF AMERICA,                                            Criminal No. 06-440(1) RHK/AJB

                                 Plaintiff,

v.                                                                                              ORDER

JOSE ALBERTO MARQUEZ-RIOS,

                                 Defendant.


         Andrew R. Winter, Esq., Assistant United States Attorney, for the plaintiff, United States of
         America;

         Lee R. Johnson, Esq., for defendant, Jose Alberto Marquez-Rios.


                 Based upon the Report and Recommendation by United States Magistrate Judge

Arthur J. Boylan dated January 22, 2007, with all the files and records, and no objections having been

filed to said Recommendation, IT IS HEREBY ORDERED that defendant Jose Alberto Marquez-

Rios’ Motion to Suppress Evidence Obtained as a Result of Search and Seizure is denied [Docket

No. 48].


Dated:      3/9/07

                                                          s/Richard H. Kyle
                                                         Richard H. Kyle
                                                         Senior United States District Court Judge
